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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

POPTECH, L.P., individually, on behalf
                                    :
of a class of others similarly situated, and
                                    :
derivatively on behalf of Stewardship
                                    :
Credit Arbitrage Fund, LLC,         :
                                    :
                                    :
            Plaintiff,              :                 Civil Action no. 3:10-cv-00967 (MRK)
                                    :
      v.                            :
                                    :
STEWARDSHIP INVESTMENT              :
ADVISORS, LLC, et al.,              :
                                    :
            Defendants.             :                 August 23, 2010
____________________________________:

           MOTION OF THE POPTECH GROUP FOR APPOINTMENT AS
        LEAD PLAINTIFF AND TO APPROVE ITS SELECTION OF COUNSEL

       Plaintiff, Poptech, L.P., together with William A. Meyer and Dr. Terence Isakov

(collectively, the “Poptech Group” or “Movant”), hereby respectfully move this Honorable Court

to issue an order, pursuant to Section 21D(a)(3) of the Securities Exchange Act of 1934, as

amended by the Private Securities Litigation Reform Act of 1995 (the “PSLRA”), 15 U.S.C. §

78u-4(a)(3), appointing Movant as Lead Plaintiff in this action and approving Movant’s selection

of Shepherd, Finkelman, Miller & Shah, LLP as Lead Counsel for the Class.

       As is more fully demonstrated in the accompanying Memorandum of Law and the

referenced exhibits to the Declaration of Patrick A. Klingman, the Poptech Group has the

“largest financial interest” in this putative class action, otherwise meets the requirements of the

PSLRA, and its selection of counsel should be approved.
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                     Respectfully submitted,

                     THE POPTECH GROUP

                       /s/ Patrick A. Klingman
                     James E. Miller
                     Patrick A. Klingman
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                     Its Counsel




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 23, 2010, a copy of the foregoing Motion for Appointment
of the Poptech Group as Lead Plaintiff and to Approve its Selection of Counsel was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.


                                              /s/ Patrick A. Klingman
                                              Patrick A. Klingman (ct17813)
